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                   EXHIBIT 2
Case: 1:19-cv-05045 Document #: 176-3
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                                        Nickerson

   1                        UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                               EASTERN DIVISION
   3
   4    JUSTIN O'CONNOR, ET AL, ON
        BEHALF OF HIMSELF      AND
   5    ALL OTHERS SIMILARLY SITUATED,
   6                      Plaintiffs,
              vs                                    Case No. 1:19-CV-05045
   7
        FORD MOTOR COMPANY,
   8
                          Defendant.
   9
        ______________________________/
  10
  11
  12               The Videotaped Deposition of KURT NICKERSON
  13                           Taken at The Henry Ford
  14                            300 Town Center Drive
  15                          Dearborn, Michigan 48126
  16                           Commencing at 9:30 a.m.
  17                          Tuesday, October 25, 2022
  18             Before Robin D. Gadwa, CSR 2607, RPR, FPR, FAPR
  19
  20
  21
  22
  23
  24
  25



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                                        Nickerson




  21    BY MR. BREIT:

  22    Q       Mr. Nickerson, before we get to documents, uhm, I

  23            wanted to ask you about the 10R80 collaboration with

  24            GM.   Were you aware of that?

  25                      MS. KELLY:     Objection.




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                                        Nickerson

   1    A       Yes.

   2    BY MR. BREIT:

   3    Q       And how did that come about?

   4    A       I'm not privy to the origins of that deal.           But I know

   5            higher levels within the two companies were talking

   6            about a collaboration on multiple transmission

   7            programs.    So, the deal was structured such that Ford

   8            would design the 10R80 and provide that design to

   9            General Motors.     General Motors would design a 9-speed

  10            front wheel drive transmission and provide that design

  11            to Ford.

  12    Q       So it was, if I understand you correctly, there was an

  13            understanding at some level that Ford would do a

  14            design and give that design to GM; GM would do a

  15            separate design and give that to Ford?

  16    A       Yes.




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